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              EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION



 CUTTING EDGE VISION, LLC

         Plaintiff,

 v.                                                      Case No. 6:24-cv-270-AM-DTG

 T-MOBILE US, Inc., and T-MOBILE USA, Inc.               JURY TRIAL DEMANDED

         Defendants.


 JUSTIN J. LESKO’S DECLARATION IN SUPPORT OF PLAINTIFF’S RESPONSE TO
            DEFENDANTS’ OPENING CLAIM CONSTRUCTION BRIEF

        I, Justin J. Lesko, declare as follows.

        1.      I am a Partner at the Law Offices of Lisa & Lesko, LLC and am one of the attorneys

representing Cutting Edge Vision, LLC (“CEV”) in this matter. I make this declaration in support

of CEV’s Response to Defendants’ Opening Claim Construction Brief. If called to testify under

oath in court, I could and would testify competently as to the facts stated herein.

        2.      Attached hereto as Exhibit C is a true and correct copy of U.S. Patent No.

10,063,761.

        3.      Attached hereto as Exhibit D is a true and correct copy of U.S. Patent No.

11,153,472.

        4.      Attached hereto as Exhibit E are true and correct copies of certain portions of the

file history of U.S. Patent No. 10,063,761.

        5.      Attached hereto as Exhibit F are true and correct copies of certain portions of the

file history of U.S. Patent No. 11,153,472.
    Case 6:24-cv-00270-AM-DTG            Document 44-2        Filed 03/20/25       Page 3 of 3




       6.      Attached hereto as Exhibit G are true and correct copies of certain portions of the

file history of U.S. Patent No. 9,936,116.

       I hereby declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge, information, and belief,

formed after reasonable inquiry under the circumstances



       Date: March 20, 2025                          By:     /s/ Justin J. Lesko

                                                     Justin J. Lesko




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